         Case 3:07-cr-00449-WQH                  Document 565            Filed 06/30/15              PageID.1523           Page 1 of 2

    ~0245D        (Rev. 3/01) Judgment in a Criminal Case for Revocations
                  Sheet 1


                                        UNITED STATES DISTRICT COURT                                                               :~~         30 Pl~'i 8:
                     SOUTHERN                                    District of                                  CALIFORNIA
                   UNITED STATES OF AMERICA                              JUDGMENT IN A CRIMINAL CASE                                     -rtf
                                   V.                                     (For Revocation of Probation or Supervised Release)
                       TONY RAMOS (17)                                    (For Offenses Committed On or After November I, 1987)


                                                                          Case Number: 07CR0449-WQH
                                                                          JANICE DEATON, CJA
                                                                          Defendant's Attorney
    REGISTRATION No. 00615298
o   THE DEFENDANT:
    o   admitted guilt to violation ofallegation(s) No.    1-3
                                                          ---------------------------
     D was found in violation of allegation(s) No.                                                after denial of guilt.
    ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following allegation(s):


    AIle2ation Number                   Nature of Violation
             I            Failure to participate in drug aftercare program (nv21)
            2-3           Failure to report change in residence/employment (nvll)




      Supervised Release       is revoked and the defendant is sentenced as provided in pages 2 through             2      of this judgment.
    This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


             IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, eosts, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notify the court and Uruted States attorney of any material change in the
    defendant's economic circumstances.

                                                                           JUNE 29, 2015
                                                                          Date oflmposition of Sentence




                                                                                                                              07CR0449-WQH
      Case 3:07-cr-00449-WQH                        Document 565         Filed 06/30/15        PageID.1524             Page 2 of 2
AO 245B     (Rev. 9/00) Judgment in Criminal Case
            Sheet 2    Imprisonment

                                                                                                Judgment - Page    2      of       2
 DEFENDANT: TONY RAMOS (17)
 CASE NUMBER: 07CR0449-WQH
                                                             IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          10 months



    D The court makes the following recommendations to the Bureau of Prisons:



    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
            Oat                                     [Ji.m.    Q.m.       on

                as notified by the United States MarshaL

    DThe defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D before
           D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.

                                                                RETURN
 I have executed this judgment as follows:

          Defendant delivered on                                                   to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                              'UNITED STATES MARSHAL

                                                                     By
                                                                                          DEPUTY UNITED STATES MARSHAL




                                                                                                                         07CR0449-WQH
